            Case 2:11-cv-01210-RGK-FMO Document 29 Filed 08/11/11 Page 1 of 2 Page ID #:516




                   1                                                     CLOSED
                   2
                   3
                   4
                   5
                   6
                   7
                   8
                   9
                 10                          UNITED STATES DISTRICT COURT
                 11                     CENTRAL DISTRICT OF CALIFORNIA
                 12                               WESTERN DIVISION
                 13 SONY CORPORATION, A Japanese           CASE NO. CV11-01210 RGK (FMOx)
                 14 corporation,
                                                           ORDER DISMISSING CASE
                 15             Plaintiff,                 WITHOUT PREJUDICE
                          vs.
                 16
                    LG ELECTRONICS, INC., a Korean
                 17 Corporation and LG ELECTRONICS
                 18 USA, INC., a Delaware corporation,
                 19             Defendants.
                 20
                 21
                 22
                 23
                 24
                 25
                 26
                 27
                 28
02347.51742/4286711.1                                                     Case No. CV11-01210-RGK (FMOx)
                                                             ORDER DISMISSING CASE WITHOUT PREJUDICE
            Case 2:11-cv-01210-RGK-FMO Document 29 Filed 08/11/11 Page 2 of 2 Page ID #:517




                   1        Having carefully considered the parties’ Stipulation of Dismissal without
                   2 Prejudice,
                   3        IT IS HEREBY ORDERED THAT all claims and counterclaims asserted
                   4 in this action are hereby dismissed without prejudice based on a confidential
                   5 settlement agreement between the parties. Each party shall bear its own costs and
                   6 attorneys’ fees.
                   7        IT IS SO ORDERED.
                   8 DATED: August 11, 2011
                   9
                 10
                 11
                                                             HON. R. GARY KLAUSNER
                 12                                          UNITED STATES DISTRICT JUDGE
                 13
                 14
                 15
                 16
                 17
                 18
                 19
                 20
                 21
                 22
                 23
                 24
                 25
                 26
                 27
                 28
02347.51742/4286711.1
                                                               -1-                Case No. CV11-01210-RGK (FMOx)
                                                                     ORDER DISMISSING CASE WITHOUT PREJUDICE
